Case 2:20-cv-02291-DOC-KES Document 96 Filed 05/05/20 Page 1 of 3 Page ID #:1294

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  May 5, 2020


  Honorable David O. Carter
  United States District Judge
  Ronald Reagan Federal Building, United States Courthouse
  411 West Fourth Street, Courtroom 9D
  Santa Ana, California 92701-4516
  Email: DOC_Chambers@cacd.uscourts.gov

  Re:     Objection to selection of 749 S. Los Angeles Street as Safe Parking Site
          in Case No. 2:20-cv-02291

  Dear Judge Carter:

  Urban Offerings, Inc. is the owner of 755 S. Los Angeles Street, Los Angeles, California 90014, and is in
  the process of preserving and rehabilitating this 100-year-old building to provide new office, retail and
  restaurant space (the “Project”). Urban Offerings is investing over $75 million in the Project, which will
  bring critically needed jobs to one of the most densely populated neighborhoods in the City of Los
  Angeles (the “City”). The success of the Project and the jobs it will create has become increasingly
  important as the unemployment rate is projected to rise as high as 30 percent in the midst of the
  COVID-19 pandemic.

  Urban Offerings hereby files this letter of objection regarding the selection of the adjacent site,
  749 S. Los Angeles Street, Los Angeles CA 90014 (“Proposed Site”), as a parking site for RVs pursuant
  to a settlement in Case No. 2:20-cv-02291. Urban Offerings supports the spirit of this lawsuit in seeking to
  require that the City and County of Los Angeles (“County”) provide immediate shelter for unhoused
  persons. However the Proposed Site, a surface parking lot in one of the most densely populated portions
  of the City within the surrounding area of Skid Row, would be a grave error that: (1) is dangerous and
  unsafe given the ongoing construction at the Project; (2) is contrary to current policy to decentralize
  services to better serve vulnerable populations of unhoused individuals; (3) would have adverse impacts
  on nearby businesses and neighbors; and (4) fails to consider several other more appropriate and safer
  sites.

  First, and importantly, the Proposed Site is adjacent to ongoing major construction and is unsafe for
  residential use. The Project is currently in the middle of construction and will commence building a
  massive steel structure on the roof. As part of the construction process, large tower cranes will lift steel
  and other heavy construction materials and machinery through and over the Proposed Site, which will
  make this empty lot dangerous and unsuitable as a purported “safe” parking site. Major construction at
  the Project is scheduled to continue throughout the rest of this year and could take even longer. What is
  more, the Proposed Site sits above a subterranean substation and is therefore unsafe for residential




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Case 2:20-cv-02291-DOC-KES Document 96 Filed 05/05/20 Page 2 of 3 Page ID #:1295




  Honorable David O. Carter
  United States District Judge
  May 5, 2020
  Page 2


  uses. In fact, as set forth below, the City previously represented that the Proposed Site could only be
  used as a parking facility and could not otherwise be developed because of the subterranean substation.

  Second, contrary to public policy, the Proposed Site reinforces a containment policy that has proven to
  have adverse impacts on neighborhoods. Urban Offerings understands all too well the crisis that this
  lawsuit seeks to address. The Proposed Site is within the boundaries of “Skid Row and the surrounding
  area” according to a recent settlement in Mitchell v. City of Los Angeles, filed in this Court on
  September 25, 2017 as Case No. CV 16- 01750 (SJO) (JPRx) (the “Mitchell Settlement”). Skid Row is a
  50-square block area that contains the largest concentration of missions, charities, and other homeless
  service providers in the City. Due to this historical concentration along with the recent effects of the
  Mitchell Settlement, as aptly stated by Plaintiff, there has been “a sharp decline in the health and safety
  for housed and unhoused alike” in Downtown, but especially within Skid Row and the surrounding areas.
  In its current condition, the Proposed Site is not conducive to furthering the goal of helping individuals
  experiencing homelessness rehabilitate and get back on their feet. True recovery from homelessness
  requires locations away from the chaos of Skid Row. This policy of relegating homeless services to Skid
  Row and the surrounding areas that was originally enacted in the 1970’s is now widely considered a
  failure, yet unofficially continues today and would only be further promulgated by concentrating safe
  parking measures at the Proposed Site.

  The Partnership has chosen to invest in this part of Los Angeles because it agrees with experts that, in
  order to thrive, urban neighborhoods need a diverse variety of uses. While in the 1970’s and 80’s this
  portion of Downtown was relegated solely to industrial manufacturers and homeless service providers, it
  is evolving into a neighborhood filled with adaptively re-used residential buildings, commercial office
  space and a slowly regenerating ground floor retail to support all uses. The Partnership plans to invest
  over $75 million into the redevelopment of 755 S. Los Angeles Street because it has relied on a vision put
  forth by City officials and echoed in community plan documents that Downtown Los Angeles should
  evolve into a world class urban center filled with a variety of uses, and that it should not solely bear the
  burden of the City’s homelessness epidemic. The placement of RVs on an adjacent parking lot to house a
  vulnerable population of homeless individuals so close to the largest concentration of people living on the
  streets of Los Angeles is not evolving away from an antiquated policy of containment but is supporting an
  effort to return to it.

  Third, in accordance with the City’s Sustainable City Plan to increase the number of Electric Vehicle
  (“EV”) charging stations, the Los Angeles Department of Water and Power (“DWP”) intended to use the
  Proposed Site as an EV charging station. The City made express representations to Urban Offerings that
  the Proposed Site could only be maintained as a parking lot or general hardscape improvements due to
  the presence of subterranean sub stations that were to be utilized for EV charging stations as part of
  DWP’s larger effort to build out electrical infrastructure to support the EV market in Los Angeles.


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Case 2:20-cv-02291-DOC-KES Document 96 Filed 05/05/20 Page 3 of 3 Page ID #:1296




  Honorable David O. Carter
  United States District Judge
  May 5, 2020
  Page 3


  Urban Offerings partners and DWP were in the process of negotiating a letter of intent, which had been
  drafted and exchanged between the parties, to allow Urban Offerings use of the planned EV charging
  stations in exchange for a long term lease. To switch course regarding the Proposed Site’s use would
  have a negative effect on the Project, compromise the ability to secure financing, and jeopardize the
  creation of hundreds of new jobs in the area.

  Given the reasons stated herein, a number of other sites within Downtown have been identified that are
  far better suited for the proposed safe parking site and would better serve vulnerable populations. The
  sites identified below are suitable alternatives that meet the following criteria: 1) 10,000 square feet or
  larger; 2) government owned or would result in a net-zero cost to the City; and 3) within the boundaries
  Council District 14.

           1425-1451 San Pedro Street- LAUSD owned site, 100,000 square feet
           1327 S. Lawrence Street- City owned lot, 30,000 square feet

  All of these sites are larger than the currently Proposed Site and are situated in areas of less residential
  density and farther away from the concentration of homeless individuals currently living on the streets of
  Skid Row. Urban Offerings respectfully requests that the Court consider these sites as an alternative to
  the Proposed Site.

  Very truly yours,




  Rockard J. Delgadillo

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